    Case 2:21-cv-02301-MLCF-KWR Document 1-8 Filed 12/15/21 Page 1 of 14



                            UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTICT OF LOUISIANA

MICHAEL GIOVINGO                                     +
                                                            CIVI     ACTION NO.:
                                                     *
                    Plaintiff                        *
                                                     *      JUDGE
                                                     *
versus                                               *
                                                     *
                                                     *      MAG. JUDGE:
GORDON BIERSCH BREWERY                               *
RESTAURANT, GORDON BIERSCH                           *
GROUP, LLC, SPB HOSPITALITY,                         t(
LLC, CRAFT BREWERY GROUP, LLC,                       *
                                                     g
CRAFTWORKS RESTAURANTS &
BREWERTES GROUP, INC., AND                           t(
ABC INSURANCE COMPANY                                *
                                                     t(
                    Defendant                        *
* * * *   :k   * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * ** * * * * * * * * * * * * *


                      CERTIFICATE OF FILING OF STATE COURT RECORD

          Pursuant to the provisions of 28 U.S.C. $ 1447(8), copies of the foregoing pleadings in the

state court proceeding entitled, "Michael Giovingo versus Gordon Biersch Brewery Restaurant,

Gordon Biersch Group, LLC, SPB Hospitality, LLC, Craft Brewery Group, LLC, Craftworks

Restaurants & Breweries Group, INC., and ABC Insurance Company" and bearing Suit No.                  202I-

09197, Division "J", Section "15," pending in the Civil District Court for the Parish of Orleans,

State of Louisiana, are hereby submitted for        filing into the record of these proceedings:

    1.          Petition for Damages filed by Plaintiff filed November 10, 2021;

   2.           Citation to Craft Brewery Group, LLC, dated November 23,2021;

   3.           Citation to Gordon Biersch Group, LLC, dated November 23,202I; and

   4.           Citation to Gordon Biersch Brewery Restaurant, signed by Deputy Clerk on November

                 72,2021.
    Case 2:21-cv-02301-MLCF-KWR Document 1-8 Filed 12/15/21 Page 2 of 14




                                                  Respectfully submitted,

                                                   LAW OFFICES OF JASON P. FOOTE,LLC

                                                  By '. /s/ .fason P- Foote
                                                  JASON P. FOOTE (#2s0s0)
                                                  DEVrN CABONT-Q.UrNN (#3s447)
                                                  KALEIGH K. ROONEY (#40034)
                                                  2821 Richland Ave., Suite 202
                                                   Metairie, Louisiana 7 0002
                                                  Telephone: 504-324-8585
                                                  Facsimile: 504-324-8496
                                                  Attorneys for Gordon Biersch Group,           LLC,
                                                  and Craft Brewery Group, LLC




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of December 2021,I electronically filed the foregoing

with the Clerk of Court using the CM/ECF systern and I served a copy of the foregoing pleading

on all counsel for all parties, via the CM/ECF system andlor mailing same by United States Mail,

properly addressed, and first class postage prepaid, to all counsel of record in this matter.

                                                        /s/ Jason P. Foote
                                                        JASON P. FOOTE
Case 2:21-cv-02301-MLCF-KWR Document 1-8 Filed 12/15/21 Page 3 of 14

                                                                                                                                                          4,$
                                                                                                                                          4.,



                                CIVTL DISTRICT COURT FOR THE PARISH

                                                     STATE OF LOUISIANA

                  No:joa1         -O1\1J                                                                                                  DIVISION:               "
                                                      MICHAEL GIOVTNGO

                                                                 VERSUS
                                                                                                                                              s[0Tf                       A
                                                                                                                                                                          L,


                  GORDON BIERSCII BREWERY RESTAURANT, GORDON BIERSCH GROUP,
                    SPB HOSPITALITY, LLC, CRAFT BREWERY GROUP, LLC,
                  BESTAURANTS & BREWERIES GROUP,INC., AND ABC INSURANCE COMP


                 FILED:                                                                                                                                                         .r-lL-l
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                                                    PETITION FORD.{MAGES
                                                               Un*':riifiEd l--,rFitrj                                                     St4.l.1tl                     $fr frfr
                        NOW INTO COURT, through undersigned counsel, corires Petitioner, Michael

                 in the above-entitied action, who files this Petition against Defendants, herein and in

                 thereof, respectfully represents the following:

                                                              PETITIONER

                                                                     1.


                        Petitioner, Michael Giovingo,    a   person of   thdhit$'e                       filtHfdirlitdJtE6lhfdqtdd in the
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                 of St. Bernard, State of   Louisiana.                    rril: rllulL                rrr--ruFTE BUlLt3lt'lii
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                        The following are made defendants in ttfggglion and are
                                                                                lr,&lg6gpto Petitioner                                                                   an
                                                                          Fie                                             tlbtl      t_lsrh Rr
                 unspecific amount, together with legal interest
                                                                          tl   s:E    t{   r:n-rb         er              tt:t.ll     - L],;r 1BT
                 A.     GORDON BIERSCH BREWERY                                                                   an

                 Street, New orteans, Louisiana, and doing      0".t""$f,;[,H"HjEfii:.t                                   ;nrl;;:"t
                                                                                                                                  .rlrl
                 B.     GORDONBIERSCHGROUP, LLC,A
                                                                                     F.


                                                                          F ErIrrr e nt         i     T   ril    n.* tti,l      rr Lisl
                 and doing business in   Louisiana.                       Ghei*,:   #                J1$7 ti24.Llr:l
                                                                          r-he,:{.: #                ilEEi $t:'lE.5rl
                 C.     SPB HOSPITALITY, LLC, a foreign limited liability company doing                                                                                  ln

                 Louisiana.                                               Iterrr                                                     Uharg*d                     ld           Fsl
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                                                                                                ':
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                 D.     CRAF*I BREwERv          cRoup. LLC.          a dd.]i6iE'f           |i-'iilf#fiabiliw                                                            clo'--
                                                                          Erlil'Yirrl Frlftd F*r                                                                         *t-t   r-rrr

                                                                          lndi,JErrt LElai FE*                                             :l'1,-r     r-x_l   a-i{r-r   $r-t   r-rt-|
                 and doing business in Louisiana.


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Case 2:21-cv-02301-MLCF-KWR Document 1-8 Filed 12/15/21 Page 4 of 14




                 E.      CRAF'TWORKS RESTAURANTS                      &    BREWERIES GROUP, INC,               A


                 corporation organized under Delaware state law and doing business in the State of

                 F.      ABC INSURANCE COMPANY,                a   foreign entity doing business in Louisiana that,

                 information and beliei provided insurance coverage for DefendanVs and/or the premise at

                 this incident occurred, on the date ofPetitioner's injuries.

                                                                      3.

                   -     At the time of the events that are the subject of this Petition, upon information     and

                 there was a business, contractual, and/franchise relationship between Defendants Gordon


                 Brewery Restaurant, Gordon Biersch Group, LLC, SPB Hospitality, LLC, Craft Brewery

                 LLC, and/or craftworks Restaurants and Breweries Group, Inc, such that one entity may be

                 forthe acts, omissions, and liabilities of the other entity. These entities will collectively be

                 to as "Defendants."


                                                   JURISDICTION AND VENUE

                                                                     4.

                         This Court has jurisdiction over this matter pursuant to La. C.C.p. Art. 2 and                ls

                 proper under, La. C.C.P. Art.74.

                                                        FACTSAND CLAIMS

                                                                     5.

                        Defendants arejointly, severally and in solido liable unto petitioner for such                 as

                 are reasonable in the premises, together with legal interest from the date       ofjudicial

                 all costs ofthese proceedings for the foilowing reasons, to-wit:

                                                                     6.

                        Petitioner brings this suit to recover for personal injuries he sustained as a                an

                 incident that occurred within the premises operated by Defendants which was caused solely            the

                 negligence and fault ofDefendants and their employees.

                                                                     7.

                        On or about November 10, 2020, Petitioner was        a guest   patron entering the Gordon

                 Brewery Restaurant located at 200 Poydras Street, New Orleans, Louisiana 70130,

                 information and belief owned and operated by Defendants.

                                                                      n
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                                                                           8.

                             when he approached the double doors to the restaurant, petitioner discovered that the

                 door was locked, so he opened the left door. As he stepped through the doors, his right foot

                 something that was placed slightly to the right of the center of the two doors, causing him

                 around and fall backwards. Petitioner was immediateiy knocked unconscious from the                    of
                 thi's   fall.

                                                                           9.

                             Upon inspection after his fall, it became clear that the object which caused              to

                 trip was        a   metai weighted post that is designed to display a small sign about waist high.

                 in this case the weighted metal post 6ase did not have a sign affixed to it. without a sign

                 to the post, it was difficult to see the weighted base from the direction petitioner was              to

                 approach as he entered the restaurant. This metal base was negligently placed in this                by

                 Defendants and/or their employees, was clearly visible to Defendants and/or their

                 were inside the building, and thus, Defendants were aware, or should have been aware,

                 existence of this dangerous condition.

                                                                          10.

                             As a result ofthe substantial and debilitating injuries resulting from this fall,

                 incurred medical bills and will continue to require medical treatment in the future. prior

                 incident Petitioner was a very active person, however, his ability to enjoy hobbies and               ln
                 which he regularly engaged has been substantially impacted. Due to the ongoing                       he

                 experiences, Petitioner's day to day life is significantly impacted by the injuries he suffered

                 incident.

                                                                          11.

                            At all times material hereto, Defendants had the exclusive care, custody, control and

                 of the area in which Plaintiff fell.

                                                                          12.

                            Petitioner's       fall and resulting injuries were    caused solely and proximately      the

                 negligence, want of care and           liability of Defendants in the following nonexclusive

                 a)         Creating the hazard upon which Petitioner fell;

                 b)         Failing to remedy ahazard of which they had actual or constructive knowledge;
                                                                          -3-
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                 c)      Failing to warn ofa hazard ofwhich they had actual or constructive knowledge;

                 d)      Allowing   a dangerous and hazardous    condition andL/or allowing the condition to

                 an unreasonable length   oftime;

                 e)      Failure to exercise reasonable care; and

                 D       Any other acts ofnegligence discoverable prior to the trial on the merits.

                 All of the   foregoing acts of negligence were in violation of the laws of the State   of
                 wlrich are hereby specifically pled by reference as set forth herein, lz extenso.

                                                                    13.

                         Petitioner avers that the condition which caused his damage created a

                 unreasonable risk ofharm. Furthermore, Petitioner asserts that Defendants by their

                 actual knowledge ofthis hazardous condition, or that in the alternative; the hazardous

                 existed for such an urueasonable length oftime that Defendants are charged with

                 knowledge of the condition.

                                                                    14.

                         At all times material hereto, all employees ofDefendants were acting within the

                 scope   of their employment with     Defendants, who are therefore vicariously liable

                 employees' negligence under the doctrine of respondeat superior.

                                                                    15.

                         At the time of the events that are the subject of this Petition, upon information and

                 Defendant, ABC Insurance Company, provided insurance coverage for Defendants                    the

                 premise at which this incident occurred, on the date of Petitioner's injuries.


                                                              DAMAGES

                                                                    16.

                         As a result of the negligence of Defendants enumerated hereinabove, Petitioner is

                 to recover for his damages under the circumstances, and herewith includes his damages as

                 without limitation, for any and all damages available under law:

                 a)      Past, present and future physical pain and suffering;

                 b)      Past, present and future mental pain, anguish and suffering;

                 c)      Past, present and future medical   bills; and


                                                                    -4-
Case 2:21-cv-02301-MLCF-KWR Document 1-8 Filed 12/15/21 Page 7 of 14




                 d)      Past, present and future ioss   of enjoyment of life;

                 e)     Lost wages, disability and loss of earning capacity.

                                                                    n.
                        Petitioner hereby demands a trial by jury.

                                            PRAYER AND REOUEST FOR RELIEF'

                        WHEREFORE, Petitioner, Michael Giovingo, prays that after due proceedings

                 there be judgment rendered in favor ofPetitioner and against Defendanrs Gordon Biersch

                 Brewery Restaurant, Gordon Biersch Group, LLc, spB Hospitality, LLC, craft Brewery

                 LLC, craftworks Restaurants and Breweries Group, Inc., and ABC Insurance company,             j
                 severally and in solido for all damages which are just and reasonable in the premises.

                        WIIEREFORE, Petitioner prays that there          be   judgment against Defendants

                 Biersch Brewery Restaurant, Gordon Biersch Group, LLC, spB Hospitality, LLC, craft

                 Group, LLC, craftworks Restaurants and Breweries Group, Inc., and ABC Insurance

                 for all costs, pre-judgment interest and for all general and equitable reliefthis Honorable

                 may deem appropriate.




                                                                               S.   McGill,   36227
                                                                         The Law Offices of Jon S. McGill,
                                                                         235 Derbigny St. Gretna, LA 70053
                                                                         (504) 208-s5sl
                                                                         Attorney for Michael Giovingo




                                             **Service Instructions on Next Page**




                                                                   -5-
Case 2:21-cv-02301-MLCF-KWR Document 1-8 Filed 12/15/21 Page 8 of 14




                  PLEASE SERVE:

                  GORDON BIERSCH BREWERY RESTAURANT
                  200 Poydras Street
                  New Orleans, Louisiana 70130

                  GORDON BIERSCH GROUP, LLC
                  L       through its RegisteredAgentfor Service ofprocess
                  CT Corporation System
                  3867 Plaza Tower Drive
                  Baton Rouge, Louisiana 708 I 6

                  CRAFT BREWERY GROUP, LLC
                  2.     through its Registered Agent/or Sewice ofprocess
                  CT Corporation System
                  3867 PlazaTower Drive
                  Baton Rouge, Louisiana 70816



                  PLEASE HOLD SERVICE F'OR THE FOLLOWING:


                  CRAFTWORKS RESTAURANTS & BREWERTES GROUP, INC.
                  3.       through its RegisteredAgentfor Service ofprocess
                  Corporation Service Company
                  251 Little Falls Drive
                  Wilmington, Delaware I 9808

                  SPB   IIOSPITALITY, LLC
                  4.      through its Registered Agentfor Service ofprocess
                  The Corporation Trust Company
                  Corporation Trust Center
                  I 209 Orange Street
                  Wilmington, Delaware   1980 I


                  ABC INSURANCE COMPANY




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Case 2:21-cv-02301-MLCF-KWR Document 1-8 Filed 12/15/21 Page 9 of 14

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            ..1!\D   ADDRISS:                                6 Dcnrcs     Dr. Grctns, L.4 l{l{)53

                                               CIVIL DISTRIC'T COIjRT                                         F'OR THE PARISH OF'OIILEANS
                                                                                             STATE OF LOUISIT\NA
                                NO:          202149197                                                     DIVISION:            J                                                 st_CT.tON: lS
                                                                                             c I 0\' IN CO, ltu{-, }fd Ft L

                                                                                                               Vrrrus
                                                               CORI}ON BIE,RSCH BREITERY RES]ATIRA]II"I. ET AL

                                                                                                            CITATION
            TO:                                CRAFTBREWERYCROUP^ LLC
            THROL]CH:                          ITS RECISTERED AGENT FOR SERVICE OF PROCESS CT CORPORATION SYSTEil4
                                               386? PLMA TOWER DITIVE. BATON ROUCE. LA ?08I6

           lOI]   HAVE BEE]V SIrHD:
           You must cithercomply s'irh the demand contained in the
           Petition tbr Danrases
            a    cerlified      Lropy         ofrvhich acconrpanies this citation, or file an ansrver orother legal pleading in the glfice <lfthe
           Clerk of this Courl Rcum 40!, Civil Courts Building, 431 Loycla Avcnuc. Nerv Orleans, LA, rc,ithin fifteen l5i
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           days after the sen,ice hereofuntler penalty                                     oldeiault.
                                                                                     ADDITIONAL INFQRIITATION
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                       Larvyer Relbnal Senics at 504-561-8ft28. This'Retbrral Serr,ice op.*i." in clnjunctiun u,ith the Nerv
                       Orleans Bar Association Ilyuu qualiti:
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                       Louisiana Legal Serr.,'ices {SLLS|at 877-5ll-6?i3
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                                                                               504-519-t00U.
                     ********COURT                           PER,SONNEI, ARE NOT PER]VTITTED TO GTVE I,EGAL                                                                          ADVTCE****i***
            !ili tilTNESS HEREOF, I hcve hereunto set mv hnnd encl rlfix the $erl of the Ciril District Court fcrr the
            Prrish of Orleans, Sliltt of LA, November 12. iti2l

            Clerk's Office" Room d02, Ch'il Courts                                                                             CHELSE!' RICII'tRD NAPOLEOII. Clerk of
            41  l,.oyota Avenue                                                                                                The C'ivil Dititrict Cnurt
            Ne.w Orlenns, LA                                                                                                   for the P*rirh nf Orlcans
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Case 2:21-cv-02301-MLCF-KWR Document 1-8 Filed 12/15/21 Page 10 of 14

             ATTORNEY'S NAME: McGitl, Jon S 36227
             AI\D ADDRXSS:    6 Demes Dr, Gretna, LA 70053

                               CIVI    DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                         STATE OF'LOUISIANA
                      NO:2021-09197                          DIVISION: J                              SECTION:
                                                         GIOVINGO, MICHAEL

                                                                    Versus

                                      GORDON BIERSCH BREWERY RESTAURANT ET AL

                                                                CITATTON
             TO:               CRAFTBREWERYGROUP,LLC
             THROUGH: ITS REGISTERED AGENT FOR SERVICE                            OF PROCESS CT CORPORATION
                               3867 PLAZA TOWER DRIVE , BATON ROUGE,                   LA 70816
            YOU HAVE BEEN SUED:
            You must either comply with the demand contained in the


            a certified copy of which accompanies this citation, or file an answer or other legal pleading in the     of the
            Clerk of this Court, Room 402, Civrl Courts Buildin g, 427 Loyola Avenue, New Orleans, LA,                    (1   s)
            days after the service hereofunder penalty ofdefault.

                                                    ADDITIONAL INFORMATION
                  Legal assistance is advisable. Ifyou want a lawyer and can't find one, you may call the New
                  Lawyer Referral Service at 504-56 l-8828. This Referral Service operates in conjunction with      New
                  Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through
                  Louisiana Legal Services (SLLS) at877-521-6242 or 504-529- 1000
                 ********COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL
             IN WITNESS HEREOF I have hereunto set my hand and aflix the seal of the Civil District                  for the
             Parish of Orleans, State of LA November 12,2021

             Clerk's Office, Room 402, Civil Courts                               CHELSEY                           Clerk of
             42LLoyola Avenue                                                     The Civil
             New Orleans,   LA                                                    for the
                                                                                  by


                                                            SHERIFF'S RETURN


                                                                                                                        a copy       of




                                                                                                                    PROCESS CT

                                                                                                                           of
                                                                                                                               and


                                                                                                                               the




                ID: 10809678                                      Page 1   of I
Case 2:21-cv-02301-MLCF-KWR Document 1-8 Filed 12/15/21 Page 11 of 14

             ATTORNEYISNAME:                    McCill,    Jon S 36227
             A}ID ADDRESS:                      6 Demes     Dr, Gretna, LA        70053

                                       CIVIL DISTRICT COURT FORTTM PARISH OF ORLEANS
                                                                                STATE OF'LOUISIANA
                           NO:2021-09197                                            DIVISION: J                                                   SECTION:
                                                                                GIOVINGO, MICHAEL
                                                                                               Versus

                                                    GORDON BIERSCH BREWERY RESTAURANT ET AL

                                                                                          CITATION
             TO:                       GORDONBIERSCHGROUP, LLC
             THROUGH: ITS REGISTERED AGENT                                         FOR SERVICE OF PROCESS CT CORPORATION
                                       3867    PLAZA TOWER DRrVE , BATON ROUGE , LA 70816
            YOU HAVE BEEN SUED:
            You must either comply with the demand contained in the


             a   certified copy of which accompanies this citation, or file an answer or other legal pleading in the                                                of the
            clerk of this court, Room 402, civil courts Buildin g, 427 Loyola Lvenue, New orleans, LA, within                                                            (15)
                    after the service hereofunder                              ofdefault.
                                                                         ADDITIONAL INFORMATION
                     Legal assistance is advisable. Ifyou want a lawyer and can't find one, you may call the New
                     Lawyer Referral Service at 504-56 1-8828. This Referral Service operates in conjunction with                                                   ew
                     Orleans Bar Association. Ifyou qualify, you may be entitled to free legal assistance through
                     Louisiana Legal Services (SLLS) at877-521 -6242 or 504-529-1 000.
                    ******'**COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL
             IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District                                                                for the
             Parish of Orleans, State of LA November 12,202 1

             Clerk's Oflice, Room 402, Civil Courts                                                          CHELSEYRICHARD                                                  of
             421 Loyola Avenue                                                                               The Civil
             New Orleans,           LA                                                                       for the
                                                                                                             State of



                                                                                     SHERIFF'S RETURN
                                                                                (for use        servers only)
                                          PERSONAL SERVICE                                                                       DOMICILIARY SERVICE
             On tt{9 _           day   of--_                                    sewed a copy   of    On this _           day   of--                                    a copy      of
             the within                                                                              the within
             PctitioD for Damages                                                                    Petition for Damages
             ON GORDON BIERSCII GROUP, LLC                                                           ON GORDON BIERSCH GROUP, LLC
             THROUGH: ITS REGISTERED ACENT FOR SERVICE OF PROCESS CT                                 THROUGH: ITS REGISTERED AGENT FOR SERVICE                                   CT
             CORPORATION SYSTEM                                                                      CORPORATION SYSTf,M
                                          Rctumed   $e   same   day                                  by leaving smc at the dwelling house, or usual place of        hands   of
                                                                No.                                                                                                          and

             Deputy Shcriffof
             Milcage: $                                                                              HIlvl.4lER lhe said GORDON BIERSCII GROUP,              LI-c            the
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                                                                                                     Deputy Sheriffof
                      SERIAL NO.                DEPUTY                         PARISH




                   ID: 10809677                                                            Page     I of I
Case 2:21-cv-02301-MLCF-KWR Document 1-8 Filed 12/15/21 Page 12 of 14

             ATTORNEY'SNAME:                      McGill,   Jon S 36227
             ANDADDRESS:                          6 Dernes   Dr, Gretna, LA        70053

                                         CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
                                                                             STATE OFLOUISIANA
                              NO: 2021-09197                                     DIVISION: J                                                        SECTION:1
                                                                             GIOVINGO, MICHAEL

                                                                                                Versus

                                                    GORDON BIERSCH BREWERY RESTAURANT ET AL

                                                                                           CITATION
             TO:                         GORDONBIERSCHcROUp, LLC
             THROUGH:                    ITS REGISTERED AGENT FOR SERVICE oF PROCESS CT CORPORATION
                                         3867 PLAZA TOWER DRTVE , BATON ROUGE,                                            LA 70816
             YOU IIAVE BEEN SUED:
             You must either comply with the demand contained in the


             a   cedified copy of which accompanies this citation, or file an answer or other legal pleading in the                                                    of the
             clerk of this court, Room 402, civil courts Buildin g,42l Loyola Avenue, New orleans, LA, within                                                              (ls)
             days after the service hereof under                            of default.
                                                                      ADDITIONAL INFORMATION
                      Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New
                      Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with
                      Orleans Bar Association. If you qualiff, you may be entitled to free legal assistance through
                      Louisiana Legal Services (SLLS) at 877 -521 -6242 or 5Q4-529- I 000.
                      ******,T*COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL

             IN WITNESS HEREOF,I have hereunto set my hand and affix the seal of the Civil District                                                                    for the
             Parish of Orleans, State of LA November 12, 2021

             Clerk's Office, Room 402, Civil Courts                                                           CHELSEY RICH.A.RI)                                                of
             42lLoyola Avenue                                                                                 The Civil
             New Orleans,           LA                                                                        for the
                                                                                                              State of



                                                                                    SIIERIFF'S RETURN
                                                                             (for use of                servers only)
                                              PERSONAL SERVICE                                                                      DOMICILIARY SERVICE
             On this _             day   of                                  -   sewed a copy   of     On this _day                                                       a copy      of
             the withitr                                                                               tbe within
             Petition for Danages                                                                      Petition for Datrrages
             ON GOR,DON BIERSCH CROUP, LLC                                                            ON GORDON BIERSCH GROUP, LLC
             THROUGH: ITS REGISTERED AGENT FOR SERVICE OF PROCESS CT                                  THROUGH: tTS RECISTERED AGENT FOR SERVICE                                     CT
             CORPORATION SYSTEM                                                                       CORPORATION SYSTEM
                                  Retumed the sme day                                                 by leaving samc at the dwelling house, or usual place ofabode,   hands   of
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             Deputy   Sheriffof                                                                       nme md other             comected   with
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                                                                                                       Deputy Sheriffof
                           SERIALNO.               DEPUTY                   PAzuSH




                    ID: 10809677                                                           Page      I of I
Case 2:21-cv-02301-MLCF-KWR Document 1-8 Filed 12/15/21 Page 13 of 14

             ,{TTORN[]"5 tr'A[IE:                            tutcGill. Jon S                ]frltl
             .,TIIiD   ADDRESS:                             6 Oc'n:rs Dr. Grctna, LA ?0{}5-i

                                                  CffIL             DISTRIC:T COT]RT FOR THE PARISH OF ORLEAITIS
                                                                                                          STATE OF LOUISIAI{A
                                NO:         l02l-09rs7                                                               DIV|SION:J                                                                     sECT1ON: lS
                                                                                                          CIOVI}|GO, MICFIAEI,
                                                                                                                             Versus

                                                                GORDO}I EIERSCH EREWERY RESTAIIRAITIT E'T AL

                                                                                                                       CT'TATION
            TO;                                   CORDON BIERSCH BREWERY RESTUR-ANT
                                                  lOO POYDRAS                         STREET, NEWORLEANS. LA ?OIiO
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             a cerrified c0py ol'rvhich ar-.companies this citatiun, or lile an answer orothsr
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            Clerk of this Cout, Roon'r 402, Civil Courts Building, 421 Loyola Avenue, Nerv Orleans, LA, rvithin
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            days afler the li€n'ice hereof under
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                        Legal assistance is advisable. Il'you u,ant a lawyer and can'r lind onc, you nray r:alt the Nerv Orleans
                        larvyer Retlnal Senice at 50+561-88:B- This'Refenal Sen,ice ,rp.rui"* in ctn;rincrion rvith the Nerv
                        Orleans Beu Assuciati<.rn tf you quali
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                        Louisiana Legal Sen'ices {SLLSiar Sif-i:t-A:4:
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                       ********(rollRT PERSONNEL ARE NOT PERMITTED
                                                                   To GIVE LEGAL Al)\rICE********
            lr\i \IITNESS HEREOF,I hrve herrunto set m]' herd and alfix the seal of thr Civil District court
            Prrish of flrleans" Stste trf I.A November 12,2ti2l
                                                                                                             for the

            Clerk's OlTice, Rorrm 402. Civil Courts                                                                                             CIIELSEY RICIIARD NAPOLEON. Chrk of
            .121Lolole Avenue                                                                                                                   The Civil Diritrict Courr
            New Orletnq LA                                                                                                                      for the Parish r.rf Orlrsnt
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Case 2:21-cv-02301-MLCF-KWR Document 1-8 Filed 12/15/21 Page 14 of 14
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             ATTORNEY'S            NAME:        McGill,    Jon S 36227
                                                                                                                                                                                 I
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             AND      ADDRESS:                  6 Dcrnes    Dr, Gretna, LA    ?0053                                                                                              1


                                         CIVI      DISTRICT COURT F'OR THE PARISH OF, ORLEANS
                                                                            STATE OF LOUISIANA
                              NO:2021-09197                                             DIYISION:         J                                  SECTION:
                                                                            GIOVINGO, MICIIAEL

                                                                                           Versus

                                                  GORDON BIERSCH BREWERY RESTAURANT ET AL

                                                                                        CITATION
             TO:                         GORDON BIERSCH BREWERY RESTURANT
                                         2OO   POYDRAS STPGET , NEW ORLEANS, LA 7Oi3O
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             Clerk's Office, Room 402, Civil Courts                                                                        RICHARD                         Clerk of
             421 Loyola Avenue                                                                              The
             New Orleans, LA                                                                                for the



                                                                                 SI{ERIFFIS RETURN
                                                                            (for use         sewers only)
                                           PERSONAL SERVICE                                                                     DOMICILIARY SERVICE
             On this _             day                                       served a   opy of    On this _day             of                             serued   a   copy of
             the withitr                                                                          the within
             Petitiotr for Damages                                                                Petition for Damages
             ON GORDON BIERSCH BREWERY RESTURANT                                                  ON GORDON BIERSCH BREWERY RESTURANT
             TIIROUGH:                                                                            THROUGHi
                                           Rctumcd the   sme day                                  by leaving same at the dwclling house, or usual place   the hmds      of
                                                             No.                                                                                                         dd
             Deputy   Shcriffof                                                                   nme and other
             Milcage: $
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                                                ENTERED
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                                  PAPER                            RETURN
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                                                                                                   Deputy   Sheriffof
                           SERIALNO.             DEPUTY                     PARISH




                    ID: 10809676                                                          Page   I of I
